                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:17-CR-396-D
                                   No. 5:20-CV-304-D


 ANTONIO RASHAWN MCARTHUR,                     )
                                               )
                           Petitioner,         )
                                               )
                    v.                         )                       ORDER
                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
                           Respondent.         )


          Having examined petitioner's motion pursuant to Rule 4(b) of the Rules Governing § 2255

 Proceedings, the United States Attorney is DIRECTED to file an Answer pursuant to Rule 5, Rules

. Governing § 2255 Proceedings, or to make such other response as appropriate to the above-captioned

 §.2255 Motion to Vacate, Set Aside or Correct Sentence, within forty (40) days of the filing of this

 order.

          SO ORDERED. This _J_ day of August 2020.



                                                        J     S C. DEVER III
                                                        United States District Judge




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